Case 1:17-cV-00365-LY-AWA Document 194-2 Filed 09/28/18 Page 1 of 7

EXHIBIT B

Case 1:17-cV-00365-LY-AWA Document 194-2 Filed 09/28/18 Page 2 of 7

IN THE UNITED STATES DISTRICI` COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,

Plaintiffs,

vs_ Civil Action No. 1:18-mc-00613-LY

GRANDE COMMUNICATIONS
NETWORKS LLC and PATRIOT MEDlA
CONSULTI'NG, LLC,

WSEMEM¢OQQOUGO:¢O'S&O=¢O:&O!

Defendants.

DECLARATION OF WADE LEAK IN SUPPORT OF PLAINTIFFS’
SUPPLEMENTAL MOTION TO SEAL CERTAIN EXHIBITS

l, Wade Leak, declare as follows:

l. l am Senior Vice President, Deputy General Counsel, and Chief Compliance
Officer for Sony Music Entertainment (“SME”). In my capacity as in-house counsel for SME, l
manage and supervise litigation for SME and its aft`lliates, including Plaintiffs Sony Music
Entertainment, Arista Music, Arista Records LLC, LaFace Records LLC, and Zomba Recording
LLC (together, the “Sony Plaintit`fs”). Through my employment at SME, l am familiar with the
books and records of the Sony Plaintiffs, including documents such as agreements (including those
referenced in this Declaration) pursuant to which the Sony Plaintiffs possess rights in certain of
the sound recordings at issue in this litigation, as well as financial information of the Sony
Plaintiffs.

2. I submit this declaration in support of Plaintiffs’ Supplemental Motion to Seal
Certain Exhibits. l have personal knowledge of the facts set forth below and/or have learned of
these facts as a result of my position and responsibilities at SME. If called upon and sworn as a

witness, I could and would testify competently as to the matters set forth herein.

Case 1:17-cV-00365-LY-AWA Document 194-2 Filed 09/28/18 Page 3 of 7

3. On September ll, 2018, I submitted a Declaration in Support of Plaintiffs’
Opposition to Grande’s Motion for Summary Judgment, and Cross-Motion for Summary
Judgment (“September l l Declaration”) [Dkt. 173-48 through 173-73]. I attached exhibits to that
‘declaration, with the understanding that they were being filed under seal and would be shielded
from public disclosure under the Protective Order entered in this case. I am submitting the instant
declaration to support the Sony Plaintiffs’ request that the documents remain under seal. These
materials comprise contracts between the Sony Plaintiffs and recording artists, and inter-company
licensing agreements As discussed below, the Sony Plaintiffs treat these documents as highly
confidential, and the disclosure of the terms of these agreements would cause the Sony Plaintiffs
competitive and financial harm.

Artist Contracts

4. The Sony Plaintiffs are engaged in the creation, manufacture, distribution, licensing
and sale ofsound recordings Like other record labels, the Sony Plaintiffs enter into contracts with
recording artists, or production companies affiliated with such artists, pursuant to which these
artists or production companies grant to the Sony Plaintiffs ownership of the rights in sound
recordings, delivered by those performers to the Sony Plaintiffs pursuant to the contracts.

5. l attached the following artist/production company contracts as exhibits to my
September ll Declaration: E`.xhibits lO, ll, 12, 13, 14, lS, 16, 17, and 20.t

6. Artist contracts are among the most highly confidential and competitiver sensitive
documents in the Sony Plaintiffs’ files. Record companies compete vigorously to sign artists to
their rosters, and to retain them. The Sony Plaintiffs’ artist contracts are detailed agreements that
are tailored to each artist’s needs and concems. The agreements are not industry-standard; rather,

they include terms that are extensively negotiated between the parties, and the terms of the

Case 1:17-cV-00365-LY-AWA Document 194-2 Filed 09/28/18 Page 4 of 7

contracts vary significantly from one artist to the next. The contracts contain extremely sensitive
information about the money and resources the record label will invest in an artist and a project,
including in recording, marketing and promoting a project. They also contain confidential
information about the financial terms of an artist’s agreement, including the payments and royalties
that the artist will receive, and proprietary formulas for calculating numerous forms of
compensation. Ali of this confidential and proprietary information is commercially and
competitively sensitive, and the agreements are negotiated on a case by case basis. The agreements
typically include confidentiality provisions that protect against their public disclosure. See, e.g.,
Ex. 20 at SME__00001514 (“The parties agree to keep all of the terms of this agreement
confidential. Neither party will disclose the terms of this agreement to any Person, except (i) as
may be required by Law or (ii) to such party’s employees, directors, agents, attorneys, accountants
and other potential advisors on a “need-to-know” basis. This confidentiality provision is of the
essence of this agreement.”).

7. The Sony Plaintiffs treat our artist contracts in the strictest ofcontidence. The terms
of these contracts are not publicly known or available. If they were included in the public record,
it would place the Sony Plaintiffs at a competitive disadvantage and cause us financial harm in
relation to our competitors, who could try to use the information to their advantage in competing
to sign and retain artists. As we are in the recorded music business, our relationships with
recording artists are critical to our success. The disclosure of artist contracts would jeopardize the
Sony Plaintiffs’ relationships with the artists who are parties to the contracts; those artists are not
parties to this litigation and expect that the confidential terms of their contracts will not be
disclosed publicly. The disclosure of the contracts could also undermine our ability to negotiate

with and sign new artists.

Case 1:17-cV-00365-LY-AWA Document 194-2 Filed 09/28/18 Page 5 of 7

lnternational Rep_ertoirc License Agreemcnts

8. The Sony Plaintiffs and their foreign affiliates license each other rights to sound
recordings pursuant to the Internationai Repertoire License agreements I submitted these
agreements as the following exhibits to my September ll Declaration: Exhibits 5, 6, and 7.

9. The Intemational Repertoire License agreements are highly confidential and
contain infonnation, such as with respect to royalty rates and other terms and conditions, that
derives independent economic value, actual or potential, from not being generally known to the
public or to other persons who can obtain economic value from its disclosure or use, such as the
Sony Plaintiffs and their affiliates’ competitors,

10. Disclosure of the lnternational Repertoire License agreements would cause
competitive and financial harm to the Sony Plaintiffs because it would allow competitors and
counterparties an unfair advantage in their dealings with us, as it would help them assess how the
we internally structure our internal licensing; our competitors and counterparties could use that
information to their financial advantage in their negotiations with the Sony Plaintiffs Fcr
example, non-affiliated licensees could base their negotiations with the Sony Plaintiffs off of the
internallicensing rates and terms in the Intemational Repertoire License agreements Similarly,
artists could use the confidential internal cost structure in negotiating with the Sony Plaintiffs,
adversely affecting the Sony Plaintiffs' position in such negotiations

ll. For these reasons, we maintain the Intemational Repertoire License agreements as
confidential in the ordinary course of business, and our foreign affiliates only permit the related
agreements to be produced in litigation on the condition that a Protective Order is in place and that

the Sony Plaintiffs do their utmost to maintain the confidentiality of the agreements and their terms.

Case 1:17-cV-00365-LY-AWA Document 194-2 Filed 09/28/18 Page 6 of 7

12. The Sony Plaintiffs and their affiliates make efforts (and expect their licensees to
make similar efforts) that are reasonable under the circumstances to maintain the secrecy of the
International Repertoire License agreements, such as insisting upon protective orders and
confidentiality agreements before disclosing it or any of its terms to third parties, and, even then,
by only disclosing those terms that are necessary under the particular circumstances

Mcrger & Acg uisition Agreements

l3. In addition, the Sony Plaintiffs have entered into merger or acquisition transactions
with counterparties at various times, by virtue of which they have acquired the rights to recordings,
including certain of those at issue in this case. Exhibit 22 to my September ll Declaration is an
example of such an agreement.

14. That agreement contains a variety of confidential, proprietary and commercially
sensitive pricing and deal terms. Disclosure would allow competitors and counterparties an unfair
advantage in their dealings with the Sony Plaintiff`s, by enabling them to assess how the Sony
Plaintiffs and/or their contractual counterparts price and structure their transactions, and by
enabling them to use that information to their advantage in their negotiations with the Sony
Plaintiffs.

15. For these reasons, the Sony Plaintiffs take steps to ensure that this information
remains confidential, including express confidentiality provisions in contracts, designations and
notifications identifying this information as confidential, marking this information as confidential
when in litigation, and other similar measures If such information were revealed, the Sony
Plaintiffs’ business interests would suffer competitive or financial inj ury, or potential legal liability

to third parties, including (but not limited to) harm to the Sony Plaintiffs’ negotiating position with

CaS€ 1217-CV-00365-LY-AWA DOCUm€nt 194-2 Filed 09/28/18 Page 7 Of 7

respect to counterparties and harm to the Sony Plaintiff's’ ability to compete with other recording

companies

I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief.

Executed this 28th day of September, 2018, in New York, New York

